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 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11    TODD DEETSCH,                                     Case No.: 22-cv-1166-RSH-BLM
12                                     Plaintiff,
                                                        ORDER:
13       v.
                                                        (1) GRANTING & DENYING IN
14    PETER LEI, LUMIA PRODUCTS CO.                     PART THE LEI DEFENDANTS’
      LLC, AMAZON.COM, INC., and                        MOTION TO DISMISS;
15
      AMAZON.COM SERVICES LLC,
16                                                      (2) GRANTING & DENYING IN
                                    Defendants.         PART THE AMAZON
17                                                      DEFENDANTS’ MOTION TO
18                                                      SEVER OR DISMISS;
                                                        (3) DENYING AS MOOT
19
                                                        PLAINTIFF’S MOTION TO STRIKE
20                                                      SUPPLEMENTAL DOCUMENT;
                                                        AND
21
                                                        (4) DENYING AS MOOT
22                                                      PLAINTIFF’S MOTION TO AMEND
23
24                                                      [ECF Nos. 20, 23, 34, 36]
25
26            Pending before the Court are four motions: (1) a motion to dismiss filed by
27    Defendants Peter Lei and Lumia Products Co. LLC (the “Lei Defendants”), ECF No. 20;
28    (2) a motion to sever or dismiss filed by Defendants Amazon.com, Inc. and Amazon.com

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 1    Services LLC (the “Amazon Defendants”), ECF No. 23; (3) Plaintiff Todd Deetsch’s
 2    motion to strike a supplemental document filed by the Amazon Defendants, ECF No. 34;
 3    and (4) Plaintiff’s motion to amend the First Amended Complaint, ECF No. 36. As set
 4    forth below, the motions to dismiss are granted in part and denied in part; the motion to
 5    sever is denied; the motion to strike is denied as moot; and the motion to amend is denied
 6    as moot.
 7    I.     BACKGROUND
 8           Plaintiff filed his original complaint on August 9, 2022, alleging unfair competition
 9    and infringement of two patents, U.S. Design Patent Numbers D595529 (the “‘529 Patent”)
10    and D595530 (the “‘530 Patent”). ECF No. 1. After the Lei Defendants and Amazon
11    Defendants moved to dismiss, Plaintiff filed his First Amended Complaint (“FAC”) on
12    December 4, 2022. ECF Nos. 15, 17, 18.
13           The FAC alleges as follows. Plaintiff owns the ‘529 Patent (entitled “Pillow Insert”)
14    and the ‘530 Patent (entitled “Pillow with X Straps”). ECF No. 18 at ¶¶ 19, 22. He “designs
15    and sells, in the United States and worldwide, his patented, continuous positive airway
16    pressure (‘CPAP’) pillow products (‘Plaintiff’s Pillow Products’), which are sold through
17    his webstore ProPap.net and many other retailers.” Id. at ¶ 14. The Lei Defendants are
18    selling pillow products, manufactured in China, that infringe Plaintiff’s patents. Id. at ¶¶
19    16, 30. Using the online marketplace provided by the Amazon Defendants, the Lei
20    Defendants have sold thousands of infringing products domestically and internationally.
21    Id. at ¶ 27.
22           Additionally, the Lei Defendants have “utilized unauthorized images of Plaintiff’s
23    likeness (e.g., the Plaintiff’s face as viewed from multiple angles) on advertising and
24    packaging media.” Id. at ¶ 28. These images used by the Lei Defendants were taken from
25    Plaintiff’s own advertising. Id.
26           On July 21, 2020, the Lei Defendants published a statement about their product on
27    the website Amazon.com, stating that their pillow products “were designed in the United
28    States but are manufactured in China.” Id. at ¶ 30. Plaintiff alleges that this statement is

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 1    deceptive, likely caused consumer confusion, and diverted sales and web traffic from
 2    Plaintiff to the Lei Defendants. Id. at ¶ 31.
 3          On December 8, 2020, Plaintiff submitted an electronic request to Defendant
 4    Amazon.com identifying Plaintiff’s patents, and asking Amazon.com to remove the Lei
 5    Defendants’ pillow products from the Amazon website. Id. at ¶¶ 41, 43. This request was
 6    sent through Amazon.com’s “Brand Registry” portal. Id. at ¶ 41. Plaintiff followed this
 7    request with two letters sent by mail on March 21, 2022. Id. at ¶¶ 44, 48. In response,
 8    Plaintiff was told that any alleged infringement must be reported through the Brand
 9    Registry portal, which Plaintiff had already done over a year before. Id. at ¶ 51.
10          The Amazon Defendants’ Brand Registry services page advertises “Automated
11    Protections” that are “[p]owered by Amazon’s Machine Learning.” Id. at ¶ 55. The
12    Amazon Defendants advertise the ability of the Brand Registry services to “save valuable
13    time,” and claim that the service allows users to report “patent[] and design right
14    violations.” Id. at ¶ 58. The Amazon Defendants further advertise that the service uses
15    “advanced machine learning that prevents bad listings,” and can “[r]emove counterfeits
16    instantly” “without the need to contact [Amazon].” Id. Plaintiff signed up for and paid for
17    a Brand Registry service subscription, and submitted multiple complaints through that
18    system, all to no avail. Id. at ¶ 60. 1 Plaintiff describes the Amazon Defendants’ statements
19    about their Brand Registry service as misrepresentations, and alleges that these
20    misrepresentations caused him delays in seeking other forms of relief. Id. at ¶¶ 63, 64.
21          The FAC brings five claims: (1) infringement of the ‘529 Patent; (2) infringement
22    of the ‘530 Patent; (3) false advertising in violation of the Lanham Act, 15 U.S.C.
23    § 1125(a)(1)(B); (4) false association in violation of the Lanham Act, 15 U.S.C.
24    § 1125(a)(1)(A); and (5) copyright infringement. ECF No. 18.
25
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            According to the attachments to the FAC, Amazon advised Plaintiff that the Lumia
28    pillow was “not substantially similar” to Plaintiff’s design. ECF No. 18-1 at 40.
                                                      3
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 1          On December 16, 2022, the Lei Defendants moved to dismiss the FAC for failure to
 2    state a claim. ECF No. 20. On December 19, 2022, the Amazon Defendants moved to sever
 3    and stay the claims filed against them, or in the alternative, to dismiss the FAC for failure
 4    to state a claim. ECF No. 23. The motions are fully briefed. ECF Nos. 27 (Opposition), 28
 5    (Lei Defendants’ Reply), 29 (Amazon Defendants’ Reply).
 6          On February 22, 2023, Plaintiff filed a motion to strike a notice of supplemental
 7    authority filed by the Amazon Defendants without leave of Court. ECF No. 34. The
 8    Amazon Defendants filed an opposition. ECF No. 37.
 9          Finally, on February 24, 2023, Plaintiff filed a motion for leave to amend the FAC
10    to remove claim five for copyright infringement. ECF No. 36. The Amazon Defendants do
11    not oppose. ECF No. 38. The Lei Defendants oppose, arguing that Plaintiff’s copyright
12    claim should be dismissed with prejudice. ECF No. 39.
13    II.   MOTIONS TO DISMISS
14          A.     Legal Standard
15          A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) tests the
16    sufficiency of a complaint. Navarro v. Block, 250 F.3d 729, 732 (9th Cir. 2001). A pleading
17    must contain “a short and plain statement of the claim showing that the pleader is entitled
18    to relief.” Fed. R. Civ. P. 8(a)(2). However, plaintiffs must also plead “enough facts to state
19    a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570
20    (2007); see Fed. R. Civ. P. 12(b)(6). The plausibility standard demands more than a
21    “formulaic recitation of the elements of a cause of action,” or “‘naked assertions’ devoid
22    of ‘further factual enhancement.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting
23    Twombly, 550 U.S. at 555, 557). Instead, a complaint “must contain sufficient allegations
24    of underlying facts to give fair notice and to enable the opposing party to defend itself
25    effectively.” Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011). When reviewing a motion
26    to dismiss under Rule 12(b)(6), courts must assume the truth of all factual allegations and
27    construe them in the light most favorable to the nonmoving party. Cahill v. Liberty Mut.
28    Ins. Co., 80 F.3d 336, 337-38 (9th Cir. 1996). (citing Nat’l Wildlife Fed’n v. Espy, 45 F.3d

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 1    1337, 1340 (9th Cir. 1995)). The court need not take legal conclusions as true “merely
 2    because they are cast in the form of factual allegations.” Roberts v. Corrothers, 812 F.2d
 3    1173, 1177 (9th Cir. 1987) (quoting W. Min. Council v. Watt, 643 F.2d 618, 624 (9th Cir.
 4    1981)). Similarly, “conclusory allegations of law and unwarranted inferences are not
 5    sufficient to defeat a motion to dismiss.” Pareto v. FDIC, 139 F.3d 696, 699 (9th Cir. 1998)
 6    (citing In re Syntex Corp. Sec. Litig., 95 F.3d 922, 926 (9th Cir. 1996)).
 7          “If a complaint is dismissed for failure to state a claim, leave to amend should be
 8    granted ‘unless the court determines that the allegation of other facts consistent with the
 9    challenged pleading could not possibly cure the deficiency.’” DeSoto v. Yellow Freight
10    Sys., Inc., 957 F.2d 655, 658 (9th Cir. 1992) (quoting Schreiber Distrib. Co. v. Serv-Well
11    Furniture Co., 806 F.2d 1393, 1401 (9th Cir. 1986)).
12          B.     ‘529 and ‘530 Patent Infringement Claims
13          The Federal Circuit has outlined five elements that must pleaded for a claim of
14    design patent infringement: “to (i) allege ownership of the patent, (ii) name each defendant,
15    (iii) cite the patent that is allegedly infringed, (iv) state the means by which the defendant
16    allegedly infringes, and (v) point to the sections of the patent law invoked. . . . ‘Rule
17    12(b)(6) requires no more.’” Hall v. Bed Bath & Beyond, Inc., 705 F.3d 1357, 1362 (Fed.
18    Cir. 2013) (quoting Phonometrics, Inc. v. Hospitality Franchise Sys., Inc., 203 F.3d 790
19    (Fed. Cir. 2000)).
20          The Lei Defendants do not challenge the FAC’s pleading of the elements of patent
21    infringement in Claims One and Two, but instead assert that those claims should be
22    dismissed because the patent designs are plainly dissimilar to the accused product and fail
23    the “ordinary observer test.” ECF No. 20-1 at 2-13.
24          The “ordinary observer” test determines whether a design patent has been infringed.
25    Egyptian Goddess, Inc. v. Swisa, Inc., 543 F.3d 665, 678 (Fed. Cir. 2008). A design patent
26    is infringed “if, in the eye of an ordinary observer, giving such attention as a purchaser
27    usually gives, two designs are substantially the same, if the resemblance is such as to
28    deceive such an observer, inducing him to purchase one supposing it to be the other.” Id.

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 1    at 670 (quoting Gorham Co. v. White, 81 U.S. 511, 528 (1871)). A patentee fails to prove
 2    infringement where the claimed and accused designs are “sufficiently distinct” and “plainly
 3    dissimilar.” Ethicon Endo-Surgery, Inc. v. Covidien, Inc., 796 F.3d 1312, 1335 (9th Cir.
 4    2015) (citing Egyptian Goddess, 543 F.3d at 678). “[W]hen the claimed and accused
 5    designs are not plainly dissimilar, resolution of the question whether the ordinary observer
 6    would consider the two designs to be substantially the same will benefit from a comparison
 7    of the claimed and accused designs with the prior art . . . [which] is not a test for
 8    determining validity, but is designed solely as a test of infringement.” Egyptian Goddess,
 9    543 F.3d at 678; see Richardson v. Stanley Works, Inc., 597 F.3d 1288, 1295 (Fed. Cir.
10    2010) (“The patentee must establish that an ordinary observer, familiar with the prior art
11    designs, would be deceived into believing that the accused product is the same as the
12    patented design.”). “[T]he burden of proof as to infringement remains on the patentee.
13    However, if the accused infringer elects to rely on the comparison prior art as part of its
14    defense against the claim of infringement, the burden of production of that prior art is on
15    the accused infringer.” Egyptian Goddess, 543 F.3d at 678.
16          “Infringement of a design patent is a question of fact.” Catalina Lighting, Inc. v.
17    Lamps Plus, Inc., 295 F.3d 1277, 1287 (Fed. Cir. 2002) (citing Shelcore, Inc. v. Durham
18    Indus., Inc., 745 F.2d 621, 628-29, (Fed. Cir. 1984)). “Therefore, it is generally
19    inappropriate to make this determination on a motion to dismiss, unless the claimed design
20    and accused product are so plainly dissimilar that it is implausible that an ordinary observer
21    would confuse them.” Enerlites, Inc. v. Century Prod. Inc., No. 8:18-cv-00839-JVS-KES,
22    2018 WL 4859947, at *3 (C.D. Cal. Aug. 13, 2018); see Grand Gen. Accessories Mfg. v.
23    United Pac. Indus. Inc., No. 2:08-cv-07078-DDP-VBK, 2009 WL 10672038, at *3 (C.D.
24    Cal. June 11, 2009) (“[I]t is not generally appropriate to make this determination on a
25    motion to dismiss.”); Five Star Gourmet Foods, Inc. v. Fresh Express, Inc., No. 19-CV-
26    05611-PJH, 2020 WL 513287, at *9 (N.D. Cal. Jan. 31, 2020) (“[D]efendant argues that
27    an ordinary observer would not find the designs to appear substantially the same. . . . [t]he
28    court declines to resolve this inherently factual question on this motion to dismiss.”);

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 1    simplehuman, LLC v. iTouchless Housewares & Prod., Inc., No. 19-CV-02701-HSG, 2019
 2    WL 5963245, at *2 (N.D. Cal. Nov. 13, 2019) (“Because design patent infringement
 3    presents a question of fact, dismissal is generally inappropriate . . . .”); California Costume
 4    Collections, Inc. v. Pandaloon, LLC, No. 2:21-cv-01323-JWH-JEMx, 2022 WL 1062056,
 5    at *5 (C.D. Cal. Apr. 7, 2022) (finding the accused product and patent design were not so
 6    dissimilar that the question of infringement could be resolved on a motion to dismiss).
 7          The Lei Defendants argue, first, that the ‘529 Patent discloses a pillow without a
 8    pillowcase, but that Lumia only advertises and sells its CPAP pillows with a pillowcase.
 9    ECF No. 20-1 at 4-5. To support this factual assertion, the Lei Defendants cite only a URL
10    for Lumia’s own website. Id. at 5 nn.1, 2. But entering that URL into a web browser takes
11    the viewer to a page that reads, “404 Page Not Found.” Because the Lei Defendants’
12    argument lacks factual support, the Court declines to consider it further.
13          The Lei Defendants next argue that there are plain dissimilarities between its product
14    and Plaintiff’s patented designs. The Lei Defendants rely principally on a series of
15    annotated illustrations and photos from the FAC, comparing Plaintiff’s design in the ‘529
16    and ‘530 Patents and the Lumia product. Id. at 6-13. But the fact that the Lei Defendants
17    are able to articulate differences does not establish that the two designs are plainly
18    dissimilar. “Differences, [] must be evaluated in the context of the claimed design as a
19    whole, and not in the context of separate elements in isolation. . . . the fact finder must
20    apply the ordinary observer test by comparing similarities in overall designs, not
21    similarities of ornamental features in isolation.” Ethicon Endo-Surgery, Inc., 796 F.3d at
22    1335. The Lei Defendants identify a logo tag, visible zipper, textured material, and closer
23    straps on their product as evidence of it being “plainly dissimilar” to Plaintiff’s ‘530 Patent.
24    ECF No. 20-1 at 13-14. These are isolated ornamental features that fail to show that the
25    overall designs are plainly dissimilar. See Lights Out Prods., LLC v. Triller, Inc., No. 2:22-
26    cv-00416-MCS-MAA, 2022 WL 2159278, at *2 (C.D. Cal. Apr. 27, 2022) (“[T]here are
27    differences Defendants identify, including the lack of a door in the accused product, an
28    apparent difference in height between the claimed product and the accused product, and

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 1    different visual design for the corners of the two products . . . these differences in isolation
 2    do not make the overall designs so plainly dissimilar that it is implausible an ordinary
 3    observer would confuse them.”); Benebone LLC v. Pet Qwerks, Inc., No. 8:20-cv-00850-
 4    AB-AFMx, 2020 WL 8732321, at *5 (C.D. Cal. Sept. 3, 2020) (“[D]espite Defendant’s
 5    attempt to distinguish individual ornamental elements of the accused design . . . it is not
 6    implausible that an ordinary consumer could confuse the [accused product] with the []
 7    Patent design given the similarities in overall design.”); Cal. Costume Collections, Inc.,
 8    2022 WL 1062056, at *5 (denying a motion to dismiss for plain dissimilarity when the
 9    accused product was a gingerbread dog costume and the design patent was a bear costume
10    for a dog).
11          The Lei Defendants characterize Plaintiff’s ‘529 Patent as depicting “sharp angles,”
12    “sharp slopes,” and “sharp bumps” as evidence that it is plainly dissimilar to their product
13    which has “rounded” and “gradual” angles, slopes, and bumps. ECF No. 20-1 at 6-8.
14    Although the patent design may exhibit angles that are slightly less sloped and rounded
15    than the Lei Defendant’s product, the Court does not agree with the Lei Defendants’
16    conclusion that plain dissimilarity as a matter of law is supported by the images.
17          Similarly, the Lei Defendants distinguish the “pointed” top and “angled” bottom
18    portions of their product from the “rounded” top and “vertical” bottom portions of
19    Plaintiff’s ‘530 Patent to show that they are plainly dissimilar. Id. at 9. Despite these
20    characterizations, the labeled top portion of the Lei Defendants’ product also appears to be
21    “rounded,” not “pointed,” and any variation in the angles of the bottom portions does not
22    appear significant. Id. Again, neither the images nor the Lei Defendants’ characterizations
23    establish plain dissimilarity.
24          As depicted below, a comparison of the patented designs and the accused products
25    demonstrates a sufficient visual similarity to render infringement plausible.
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 1          Although the ‘529 and ‘530 Patents are not identical to the Lei Defendants’ product
 2    design, “minor differences between a patented design and an accused article’s design
 3    cannot, and shall not, prevent a finding of infringement.” TV Ears, Inc. v. Joyshiya Dev.
 4    Ltd., No. 3:20-cv-01708-WQH-BGS, 2021 WL 5396111, at *11 (S.D. Cal. Nov. 18, 2021)
 5    (quoting Litton Sys., Inc. v. Whirlpool Corp., 728 F.2d 1423, 1444 (Fed. Cir. 1984)); see
 6    Kao v. Snow Monster Inc., No. CV 17-08934-RSWL-GJSx, 2019 WL 2164192, at *3 (C.D.
 7    Cal. May 16, 2019) (“If slight variances in size or proportion negated infringement, the
 8    protection afforded by design patents would essentially be rendered useless.”). The designs
 9    are not plainly dissimilar to the extent that infringement is implausible.
10          “When the products are not ‘plainly dissimilar,’ examination of the prior art might
11    reveal differences between the designs at issue that are unnoticeable ‘in the abstract,’ but
12    significant in the context of the prior art.” Daimler AG v. A-Z Wheels LLC, 334 F. Supp.
13    3d 1087, 1103 (S.D. Cal. 2018) (citing Egyptian Goddess, 543 F.3d at 670). The Lei
14    Defendants have not introduced evidence of prior art and the Court declines to address it.
15    See TV Ears, Inc., 2021 WL 5396111, at *11 (“The parties have not presented any prior art
16    through which the importance of the differences can be analyzed. At the current stage in
17    litigation, the Court is unable to conclude that an ordinary observer would not be deceived
18    into believing that Defendants’ device is the same as the patented design.”); Five Star
19    Gourmet Foods, Inc., 2020 WL 513287, at *9 (“[E]ven were the court to consider the
20    merits of defendant’s argument and make a factual determination, . . . prior art is potentially
21    relevant to the determination, and the parties have not adequately addressed its impact.”);
22    Lights Out Prods., LLC, 2022 WL 2159278, at *2-3 (“[A] comparison with the prior art at
23    the motion to dismiss stage is usually inappropriate.”).
24          Given that “a comparison of the protected designs with the accused products
25    demonstrates a sufficient visual similarity to at least render infringement of the [‘529 and
26    ‘530] Patent[s] plausible,” the Court declines to dismiss Claims One and Two for failure
27    to state a claim under the “ordinary observer” test. Deckers Outdoor Corp. v. J.C. Penney
28    Co. Inc., 45 F. Supp. 3d 1181, 1186 (C.D. Cal. 2014).

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 1           C.    False Advertising Under 15 U.S.C. § 1125(a)(1)(B)
 2          Under the Lanham Act, “[s]ection 1125(a) [] creates two distinct bases of liability:
 3    false association, § 1125(a)(1)(A), and false advertising, § 1125(a)(1)(B).” Lexmark Int’l,
 4    Inc. v. Static Control Components, Inc., 572 U.S. 118, 122, 134 (2014).
 5          A false advertising claim “requires a showing that (1) the defendant made a false
 6    statement either about the plaintiff’s or its own product; (2) the statement was made in
 7    commercial advertisement or promotion; (3) the statement actually deceived or had the
 8    tendency to deceive a substantial segment of its audience; (4) the deception is material;
 9    (5) the defendant caused its false statement to enter interstate commerce; and (6) the
10    plaintiff has been or is likely to be injured as a result of the false statement, either by direct
11    diversion of sales from itself to the defendant, or by a lessening of goodwill associated with
12    the plaintiff’s product.” Jarrow Formulas, Inc. v. Nutrition Now, Inc., 304 F.3d 829, 835
13    n.4 (9th Cir. 2002) (citing Southland Sod Farms v. Stover Seed Co., 108 F.3d at 1134, 1139
14    (9th Cir. 1997)). If an advertisement is not literally false, one can recover under the Lanham
15    Act “if it can be shown that the advertisement has misled, confused, or deceived the
16    consuming public.” Southland Sod Farms, 108 F.3d at 1140.
17           Here, the FAC alleges two types of false advertising: (1) in a statement that the Lei
18    Defendants made on product page on Amazon.com, listing questions and answers about
19    their product; and (2) in statements made by the Amazon Defendants in describing their
20    Brand Registry service.
21                  1.     The Lei Defendants’ statement on the Amazon.com answer page
22           The FAC alleges that the Lei Defendants posted, on an Amazon.com product answer
23    page, a statement “that Defendants’ Pillow Products were designed in the United States but
24    are manufactured in China.” ECF No. 18 at ¶ 30. The FAC does not allege that the
25    statement is false, but rather that it is “materially deceptive and likely caused confusion
26    among customers.” Id. at ¶ 31. The FAC does not explain how the statement is materially
27    deceptive or how it likely confused the consuming public.
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 1          “District courts in the Ninth Circuit have held that the heightened pleading standard
 2    of Federal Rule of Procedure 9(b) applies to false advertising claims and requires the
 3    plaintiff to plead the ‘time, place, and specific content of the false representations,’ the
 4    identities of the parties to the misrepresentation, and what about the statement is claimed
 5    to be misleading.” Seoul Laser Diebord Sys. Co. v. Serviform, S.r.l., 957 F. Supp. 2d 1189,
 6    1200 (S.D. Cal. 2013) (quoting Epicor Software Corp. v. Alternative Tech. Solutions, Inc.,
 7    No. SACV 13–00448, 2013 WL 2382262, at *4 (C.D. Cal. May 9, 2013)). The FAC does
 8    not meet this standard.
 9          In opposing the Lei Defendant’s motion to dismiss, Plaintiff concedes that this
10    statement “is arguably true,” but alleges that the Lei Defendants “made the statement to
11    deceive customers into believing Defendants’ products were not counterfeit or otherwise
12    not infringing the intellectual property rights of another person or entity.” ECF No. 27 at
13    21. Even with this explanation of the Lei Defendants’ alleged intent, the Court does not see
14    how a true statement that a product was designed in the United States is a representation
15    that the product does not infringe any third party’s intellectual property rights. The Lei
16    Defendants’ motion to dismiss Claim Three is granted as to Plaintiff’s allegation of false
17    advertising based on the Amazon.com answer page. 2
18                 2.    The Amazon Defendants’ statements about their Brand Registry
19          The FAC alleges that the Amazon Defendants made numerous statements about the
20    Amazon.com Brand Registry service, referring to exhibits attached to the FAC:
21                 55. Exhibit 12 shows how the Amazon Defendant’s Brand Registry
                   services page advertises “Automated Protections” that are “[p]owered
22
                   by Amazon’s Machine Learning.”
23
                   56. Exhibit 12 further details how the Amazon Defendants’
24
                   “Automated Protections” are alleged to “continuously scan [their]
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26
      2
27          In dismissing Claim Three as to Plaintiff’s Amazon.com answer page allegations,
      the Court declines to rule on the Amazon Defendants’ argument that the Communications
28    Decency Act, 47 U.S.C.A. § 230(c)(1), shields them from liability. ECF No. 23-1 at 7-8.
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 1                 stores and proactively remove suspected counterfeits.” The continuous
                   scanning is alleged to “scan over 5 billion daily listing update
 2
                   attempts.”
 3
                   57. Exhibit 13 provides another screenshot of the Amazon Defendant’s
 4
                   public Brand Registry services page, from June 6, 2019, which
 5                 expressly specifies that violations concerning “copyright, trademark,
                   and patent” (emphasis added) are handled by the Amazon Defendant’s
 6
                   Brand Registry services.
 7
                   58. Exhibits 21 and 22 provide additional screenshots of the Amazon
 8
                   Defendant’s public Brand Registry page from November 25, 2022. As
 9                 illustrated in Exhibit 21, the Amazon Defendants advertise the ability
                   of Brand Registry to “save valuable time” and allow users to report
10
                   “patent[] and design right violations.” The Brand Registry page of
11                 Exhibit 21 again promotes “[a]utomated protections” that use
                   “advanced machine learning that prevents bad listings.” The Brand
12
                   Registry page of Exhibit 22 goes even further by suggesting the Brand
13                 Registry service can “[r]emove counterfeits instantly” “without the
                   need to contact [Amazon].”
14
15    ECF No. 18 at ¶¶ 55-58.
16          The FAC does not allege that any of the statements identified above are false; nor
17    does the FAC identify which particular statements are misleading, or explain how they are
18    misleading, as required by Rule 9(b). See Seoul Laser, 957 F. Supp. 2d at 1200. Instead,
19    the FAC seems to allege that taking all of the statements together, a consumer would
20    reasonably expect the Brand Registry service to work better or faster than it did for
21    Plaintiff. ECF No. 18 at ¶ 59 (“Plaintiff asserts that a reasonable buyer. . . would take the
22    statements from Exhibits 12, 13, 21, and 22 seriously and as fact, and thereby expect the
23    Brand Registry service to be a rapid, ‘automated’ tool for ‘instantly’ removing design
24    infringing products from the Amazon website.”); ¶ 63 (“[A] consumer would reasonably
25    expect the service to actually identify and ‘proactively’ remove products that infringed
26    Plaintiff’s Patents.”). But a reasonable consumer’s disappointment that a service did not
27    work as well or as quickly as hoped, does not amount to false advertising. See Newcal
28    Indus., Inc. v. Ikon Off. Sol., 513 F.3d 1038, 1053 (9th Cir. 2008) (holding that “a statement

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 1    that is quantifiable, that makes a claim as to the ‘specific or absolute characteristics of a
 2    product,’ may be an actionable statement of fact while a general, subjective claim about a
 3    product is non-actionable puffery,” and cannot support liability for false advertising under
 4    the Lanham Act).
 5          The Supreme Court has held that “to come within the zone of interests in a suit for
 6    false advertising under § 1125(a), a plaintiff must allege an injury to a commercial interest
 7    in reputation or sales.” Lexmark Int’l, Inc., 572 U.S. at 131-32. “A consumer who is
 8    hoodwinked into purchasing a disappointing product may well have an injury-in-fact
 9    cognizable under Article III, but he cannot invoke the protection of the Lanham Act—a
10    conclusion reached by every Circuit to consider the question.” Id. at 132. The Court further
11    explained that “[e]ven a business misled by a supplier into purchasing an inferior product
12    is, like consumers generally, not under the [Lanham] Act’s aegis.” Id.
13          Here, the FAC positions Plaintiff as a dissatisfied consumer of the Amazon
14    Defendants’ Brand Registry service. Plaintiff’s opposition brief insists that he is within the
15    zone of interests protected by the Lanham Act, and cites the negative impact he has alleged
16    in Paragraphs 55 to 67 of the FAC. ECF No. 27 at 16. Those paragraphs only allege harm
17    to Plaintiff based on the Brand Registry not working as well or as quickly as it should
18    have—in short, he is a disappointed customer. Plaintiff does not allege, for example, that
19    false statements by the Amazon Defendants about the Brand Registry service caused
20    consumers to withhold trade from Plaintiff.
21          Plaintiff thereby fails to state a claim for false advertising under the Lanham Act.
22    The Amazon Defendants’ motion to dismiss Claim Three is granted as to Plaintiff’s
23    allegation of false advertising based on the Brand Registry statements.3
24          //
25
26
      3
27           In dismissing Claim Three as to Plaintiff’s Amazon.com Brand Registry allegations,
      the Court declines to rule on the Amazon Defendants’ argument that their applicable terms
28    of service require venue in the Western District of Washington. ECF No. 23-1 at 7-8.
                                                    14
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 1          D.     False Association Under 15 U.S.C. § 1125(a)(1)(A)
 2          Under the Lanham Act, “[t]o prevail on a claim of false association or false
 3    designation of origin, a plaintiff must show that ‘(1) defendant uses a designation (any
 4    word, term, name, device, or any combination thereof) or false designation of origin;
 5    (2) the use was in interstate commerce; (3) the use was in connection with goods or
 6    services; (4) the designation or false designation is likely to cause confusion, mistake, or
 7    deception as to (a) the affiliation, connection, or association of defendant with another
 8    person, or (b) as to the origin, sponsorship, or approval of defendant’s goods, services, or
 9    commercial activities by another person; and (5) the plaintiff has been or is likely to be
10    damaged by these acts.’” Zamfir v. Casperlabs, LLC, 528 F. Supp. 3d 1136, 1143-44 (S.D.
11    Cal. 2021) (quoting United Tactical Sys., LLC v. Real Action Paintball, Inc., 143 F. Supp.
12    3d 982, 1015 (N.D. Cal. 2015)). To determine likelihood of confusion in a false association
13    case, the Ninth Circuit applies an eight-factor test modeled after the factors set forth in
14    AMF, Inc. v. Sleekcraft Boats, 599 F.2d 341 (9th Cir. 1979). See Downing v. Abercrombie
15    & Fitch, 265 F.3d 994, 1007 (9th Cir. 2001).
16          Here, Plaintiff’s claim for false association is based on his allegation that “the Lei
17    Defendants utilized unauthorized images of the Plaintiff’s likeness (e.g., the Plaintiff’s face
18    as viewed from multiple angles) on advertising and packaging media.” ECF No. 18 at ¶ 28.
19    However, Plaintiff does not allege that the Lei Defendants’ use of his likeness is likely to
20    cause confusion, mistake, or deception as to his association with the Lei Defendants’
21    products. Nor does he plead facts that would plausibly support such an allegation; Plaintiff
22    does not allege, for example, any facts that would establish that his likeness is recognizable
23    by would-be consumers. See White v. Samsung Elecs. Am., Inc., 971 F.2d 1395, 1400 (9th
24    Cir. 1992) (“If Vanna White is unknown to the segment of the public at whom Samsung’s
25    ad was directed, then that segment cannot be confused as to whether she was endorsing
26    Samsung’s product.”). Plaintiff also fails to allege that that the Lei Defendants’ use of his
27    likeness resulted in any harm to Plaintiff.
28

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 1          Plaintiff fails to state a claim for false association under the Lanham Act. The
 2    Amazon Defendants’ motion to dismiss Claim Four is granted.
 3          E.     Copyright Infringement
 4          Before pursuing a federal infringement claim, “a copyright claimant generally must
 5    comply with [17 U.S.C.] § 411(a)’s requirement that ‘registration of the copyright claim
 6    has been made.’” Fourth Est. Pub. Benefit Corp. v. Wall-Street.com, LLC, 139 S. Ct. 881,
 7    887 (2019) (quoting 17 U.S.C. § 411(a)). This registration requirement is satisfied when
 8    the U.S. Copyright Office: (1) registers a copyright; or (2) refuses registration after the
 9    required “deposit, application, and fee . . . have been delivered to the Copyright Office in
10    proper form[.]” Id. (quoting § 411(a)). In other words, action by the Copyright Office is
11    required before a federal infringement lawsuit may be filed. Id. at 889.
12          Plaintiff applied for copyright registrations after this action was filed. ECF No. 27
13    at 23. Plaintiff had not obtained registration of his works before filing the Complaint, as
14    required by § 411(a) and the Supreme Court’s opinion in Fourth Estate. Given that
15    Plaintiff’s works may become registered, the question remains whether the Court should
16    grant leave to amend when Plaintiff may obtain a copyright registration after the claim for
17    copyright infringement was filed.
18          Neither the Supreme Court nor the Ninth Circuit has directly addressed this question.
19    See Washoutpan.com, LLC v. HD Supply Constr. Supply Ltd., No. 2:19-cv-00494-AB
20    (JEMx), 2019 WL 9050859, at *2-3 (C.D. Cal. Aug. 5, 2019) (“Whether a plaintiff who
21    improperly files suit before obtaining copyright can cure that defect by amending the
22    complaint after the Copyright Office completes registration has not been squarely
23    addressed by the Supreme Court or by the Ninth Circuit.”); Izmo, Inc. v. Roadster, Inc.,
24    No. 18-CV-06092-NC, 2019 WL 2359228, at *2 (N.D. Cal. June 4, 2019) (“The Supreme
25    Court’s opinion, however, did not squarely address the issue here: whether a copyright
26    claimant may amend its complaint to include subsequently registered material.”).
27          However, following the Supreme Court’s opinion in Fourth Estate, most district
28    courts to address the question have ruled that a plaintiff who improperly files a copyright

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 1    suit before obtaining registration cannot cure that defect by amending the complaint after
 2    registration. See, e.g., Roblox Corp. v. WowWee Group Ltd., No. 22-cv-04476-SI, 2023
 3    WL 2433970, at *4 (N.D. Cal. Mar. 9, 2023) (“[T]he Court agrees with other courts in this
 4    district that permitting plaintiffs to cure their failure to register the copyright before suing
 5    would undermine Fourth Estate.”); Fisher v. Nissel, No. CV 21-5839-CBM-(KSx), 2022
 6    WL 16961479, at *6 (C.D. Cal. Aug. 15, 2022) (dismissing copyright claim without leave
 7    to amend); Rawls v. Paradise Artists, Inc., No. 3:18-0417, 2020 WL 1493610, at *7 (M.D.
 8    Tenn. Mar. 27, 2020) (“[T]he Court therefore opts for compliance with Fourth Estate, and
 9    because Plaintiff initiated this action without satisfying 17 U.S.C. § 411(a) as to all subject
10    works, concludes the action cannot proceed. Dismissal of the third amended complaint
11    without prejudice is the appropriate outcome.”); Ambrosetti v. Oregon Cath. Press, 458 F.
12    Supp. 3d 1013, 1020 (N.D. Ind. 2020) (dismissing copyright claim without prejudice);
13    Izmo, 2019 WL 2359228 at *2 (holding that plaintiff could not amend its complaint to
14    assert copyright infringement of photographs that were not registered at the time it initiated
15    the lawsuit); Washoutpan.com, 2019 WL 9050859 at *3 (dismissing plaintiff’s claim
16    “without prejudice to refiling an action when Plaintiff can satisfy the registration
17    requirement.”); Malibu Media, LLC v. Doe, No. 18-CV-10956 (JMF), 2019 WL 1454317
18    (S.D.N.Y. Apr. 2, 2019) at *1 (“The Court holds that such a prematurely filed suit must be
19    dismissed notwithstanding a plaintiff’s post-registration amendment.”). But see, e.g.,
20    Lickerish Ltd. v. Maven Coal., Inc., No. CV 20-5621, 2021 WL 3494638, at *1 (C.D. Cal.
21    Jan. 29, 2021) (holding Ninth Circuit’s policy favoring amendment permits amendment of
22    an existing lawsuit to add newly asserted claim for copyright infringement as long as the
23    copyright issued before the amendment).
24          These cases typically reason that to permit amendment would undermine Congress’s
25    choice to “maintain[] registration as prerequisite to suit,” as recognized by the Supreme
26    Court in Fourth Estate. Malibu Media, 2019 WL 1454317, at *2 (quoting Fourth Estate,
27    139 S. Ct. at 891); see also Izmo, 2019 WL 2359228, at *2 (“The Supreme Court has made
28    clear that the registration requirement of § 411(a) was akin to an administrative exhaustion

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 1    requirement that the owner must satisfy before suing to enforce ownership rights.”);
 2    Ambrosetti, 458 F. Supp. 3d at 1020 (finding “that allowing leave to amend the complaint
 3    undermines the Supreme Court’s holding of Fourth Estate.”); Roblox, 2023 WL 2433970
 4    at *4.
 5             This Court agrees. Plaintiff had not obtained registration of the works at issue before
 6    filing the Complaint, as required by § 411(a) and the Supreme Court’s opinion in Fourth
 7    Estate. Accordingly, the Court dismisses the copyright infringement claim without leave
 8    to amend. This dismissal is without prejudice to refiling a new action.
 9             F.    Allegations Against Defendant Peter Lei
10             The Lei Defendants also argue that the FAC fails to allege sufficient facts against
11    Defendant Peter Lei to state a claim against him.
12             The FAC alleges the following as to Defendant Lei:
13                   24. During April and May of 2022, Counsel for Plaintiff discovered
                     that Hangzhou Jiuze Technology Co., Ltd. (“the Jiuze Co.”), located in
14
                     the People’s Republic of China, manufactured Defendants’ Pillow
15                   Products for Defendants according to an “agreement” that was created
                     under false pretenses and at the personal direction of Defendant Peter
16
                     Lei. This discovery came about during discussions between Counsel for
17                   Plaintiff, and Mr. Max Jiang and Mrs. Amy Yan, agents of the Jiuze
                     Co., as shown in Exhibit 4.
18
19                   25. Upon information and belief, and as indicated by the
                     correspondence in Exhibit 4, Defendant Peter Lei personally provided
20
                     electronic communications to, and signed an “agreement” with, the
21                   Jiuze Co., before August 16, 2018, in furtherance of causing the Jiuze
                     Co., under false pretenses, to customize and manufacture Defendants’
22
                     Pillow Products that are identical to the designs claimed in the Deetsch
23                   Patents and to the CPAP Pillow Products sold by Plaintiff.
24
                     26. Upon information and belief, and as indicated in the
25                   correspondence attached as Exhibit 4, Defendant Peter Lei’s electronic
                     communications, referenced in Paragraph 25, fraudulently indicated to
26
                     the Jiuze Co., that Defendant Peter Lei had permission to cause the
27                   manufacturing and/or importation of Defendants’ Pillow Products that
28

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 1                 were identical to the designs claimed in the Deetsch Patents and to
                   Plaintiff’s CPAP Pillow Products.
 2
 3    ECF No. 18. Exhibit 4 to the FAC, cited in each of the three paragraphs quoted above, does
 4    not refer to Peter Lei; does not purport to be a communication by Peter Lei; and does not
 5    appear to refer to an “agreement.”
 6           In opposing the Lei Defendants’ motion to dismiss, Plaintiff characterizes these three
 7    paragraphs as follows: “Plaintiff asserts that Defendant Peter Lei personally made the
 8    decision to contract out the third-party manufacturing of infringing goods under false
 9    pretenses, and thereafter personally made the decision to sell the infringing goods all over
10    the world via the internet. (See the FAC at Paragraphs 25-27).” ECF No. 27 at 9. But that
11    is not what those paragraphs say.
12           Claims One and Two allege that the Lei Defendants infringed Plaintiff’s Patents by
13    using, selling, offering for sale, and importing the Lei Defendants’ pillow products. ECF
14    No. 18 at ¶¶ 77-84. The basis for the allegations against Lumia is clear enough, but not for
15    the allegations against Lei. The same goes for Plaintiff’s claims under the Lanham Act.
16    The Lei Defendant’s motion to dismiss all claims against Peter Lei is granted.
17    III.   LEAVE TO AMEND
18           Federal Rule of Civil Procedure 15(a) provides that “[t]he court should freely give
19    leave [to amend] when justice so requires.” “This policy is ‘to be applied with extreme
20    liberality.’” Eminence Capital, LLC v. Aspeon, Inc., 316 F.3d 1048, 1051 (9th Cir. 2003)
21    (quoting Owens v. Kaiser Found. Health Plan, Inc., 244 F.3d 708, 712 (9th Cir. 2001)).
22    On the other hand, leave to amend is appropriately denied where amendment would be
23    futile. Leadsinger, Inc. v. BMG Music Pub., 512 F.3d 522, 532 (9th Cir. 2008). Here, the
24    Court’s dismissal of Claim Three and Claim Four, and of Claims One and Two as to
25    Defendant Peter Lei, is with leave to amend. Dismissal of Claim Five, as discussed above,
26    is without leave to amend.
27           //
28           //

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 1    IV.   MOTION TO SEVER AND TO STAY
 2          The Amazon Defendants’ motion to dismiss asks, in the alternative, to sever and stay
 3    the claims against them. ECF No. 23. They appear to argue that they should not have to
 4    bear the cost of defending a lawsuit where they “have no knowledge about the substantive
 5    infringement allegations,” and “played no role in the design or manufacture of the Accused
 6    Products.” ECF No. 23-1 at 6.
 7          Federal Rule of Civil Procedure 21 provides that a court “may … sever any claim
 8    against a party.” “There is no established test in the Ninth Circuit for when a district court
 9    should exercise its broad discretion to sever a claim under Rule 21.” Cnty. of Mono v.
10    Liberty Utils., No. 2:21-cv-834, 2022 WL 3368440, at *1 (E.D. Cal. Aug. 16, 2022)
11    (quoting Arcure v. Cal. Dep’t of Develop. Servs., No. 1:13-cv-00541-LJO-BAM, 2014 WL
12    346612, at *6 (E.D. Cal. Jan. 30, 2014)). In determining whether to sever a claim, a court
13    may consider: “(1) whether the claims arise out of the same transaction or occurrence;
14    (2) whether the claims present some common questions of law or fact; (3) whether
15    settlement of the claims or judicial economy would be facilitated; (4) whether prejudice
16    would be avoided if severance were granted; and (5) whether different witnesses and
17    documentary proof are required for the separate claims.” SEC v. Leslie, No. C 07-3444,
18    2010 WL 2991038, at *4 (N.D. Cal. July 29, 2010) (citation omitted). None of these factors
19    favor severance here. The Court is not persuaded that the Amazon Defendants would suffer
20    undue prejudice by being required to continue to defend the claims against them. The
21    Amazon Defendants’ request to sever is denied.
22    V.    MOTION TO STRIKE
23          Plaintiff filed a motion to strike a supplemental document filed by the Amazon
24    Defendants. ECF No. 34. The supplemental document, ECF No. 30, submitted by the
25    Amazon Defendants in support of its motion to sever, is a notice of a recent order issued
26    in the Western District of Texas. Plaintiff is correct that this supplemental document was
27    filed without leave of Court and contrary to the undersigned’s Chambers Civil Procedures.
28

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 1    However, as the Court did not rely on this non-binding authority in denying the Amazon
 2    Defendants’ motion to sever, Plaintiff’s motion to strike is denied as moot.
 3    VI.   MOTION TO AMEND
 4          Plaintiff has moved to amend the First Amended Complaint to drop his Copyright
 5    claim. ECF No. 36. Because the Court has dismissed that claim, Plaintiff’s motion is denied
 6    as moot.
 7    VII. CONCLUSION
 8          For the foregoing reasons:
 9          1.     The Lei Defendants’ motion to dismiss the FAC [ECF No. 20] is GRANTED
10    IN PART and DENIED IN PART.
11          2.     The Amazon Defendants’ motion to dismiss the FAC [ECF No. 23] is
12    GRANTED IN PART and DENIED IN PART.
13          3.     The Court DISMISSES Claims Three, Four, and Five of the First Amended
14    Complaint, as well as Claims One and Two against Defendant Peter Lei only.
15          4.     Plaintiff is GRANTED leave to amend his pleading, with the exception of
16    Claim Five. If Plaintiff chooses to file a Second Amended Complaint, he must file within
17    twenty-one (21) days of the date of this Order; otherwise, the portions of the First Amended
18    Complaint that have not been dismissed will remain the operative pleading, and Defendant
19    Peter Lei will be dismissed from the action.
20          5.     The Amazon Defendants’ motion to sever [ECF No. 23] is DENIED.
21          6.     Plaintiff’s motion to strike [ECF No. 34] is DENIED as moot.
22          7.     Plaintiff’s motion to amend [ECF No. 36] is DENIED as moot.
23          SO ORDERED.
24    Dated: July 21, 2023
25
26                                                        ___________________
27                                                        Hon. Robert S. Huie
                                                          United States District Judge
28

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